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         UNITED STATES DI TRICT COURT FOR THE DISTRICT OF DELA WARE

MICHAEL C. TRIMARCO,
     Plaintiff,
V.                                                       Case o. 1:20-cv-01 408-RGA
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                                                                                              IF:-:-:::-:~
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                                                                                                            D)- --,
MICHAEL T. FARLEY,
SHAWN PATRICK CARDE
MICHAEL A. HILMER,                                                                           MAR O5 2021
CHRIS CICOLINI -and-
ASHISH KAPOOR
     Defendants.

        OBJECTION TO MOTION FOR ADDITIONAL TIME TO SERVE CARDEN

         Now comes the defendant Farley and objects to the plaintiffs request for an additional 30

days to serve defendant Shawn Carden.


         This case was filed on or about October 20, 2020. No summonses were requested by the

plaintiff. Only Mr. Cicolini was served by the plaintiff. Defendant Farley, aware of the suit,

voluntarily completed his own waiver of service fo1m and delivered it to plaintiffs attorney.


         No effort was made to serve Hilmer or Kapoor; and Carden was not served within ninety

(90) days as required by Fed. R. Civ. Proc. 4(m). More specifically, no effort was made to serve

Carden until the 915 1 day after filing the Complaint.


         The Affidavit of Non-Service indicates that an effort was made to serve Mr. Carden on

January l 9 th at 6:00pm . This fact is disputed by Mr. Carden, but even if the court were to accept

it as true, this was the 91 st day from October 20, 2020. Regardless, service was not made by the

90 th day.
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         Under these facts , Rul e 4(m) indicates that the court must dismiss the action without

prejudice, or order that service be made within a specified time.                  The court is not obligated to

extend the time for service unless " good cause" is shown. See Fed. R. Civ. Proc. 4(m).


         (m) TIME LIMIT FOR SER VICE. If a defendant is not served within 90 days after the
         complaint is filed, the court-on motion or on its own after notice to the plaintiff- must
         dismiss the action without prejudice against that defendant or order that service be made
         within a specified time. But i[the plaintiff shows good cause for the failure, the court
         must extend the time for service for an appropriate period.

Fed. R. Civ. Proc. 4(m) (as amended 2015) (emphasis added).


         In this matter, the plaintiff has not shown any admissible or relevant evidence of "good

cause" for their failure to serve within 90 days. 1 In fact, there is no evidence of any effort to

serve Mr. Carden at any time between Day I and Day 90 after filing the complaint. The

plaintiffs description of efforts commences on the 91 st day.


         It is entirely possi ble that Mr. Biss 2 was unaware that the Federal Rules of Civil

Procedure were amended six ( 6) years ago to shorten the time for filing from 120 days to 90

days. As noted in the pending Motion to Disqualify and the Objection to Pro Hae Vice, Mr. Biss

frequently runs afoul of rules of procedure and conduct.


         Regardless, because it appears that no effort was made to serve Mr. Carden within 90

days, the matter against him should be dismissed without prejudice.




1
  A sign ificant portion of the non-service affidavit was dedicated to the plaintiff's version of why they were unable
to serve this defendant on the 98 th day after filing, but this story is not particularly relevant to why they were
unable to serve within 90 days.
2
  Mr. Biss is not yet admitted pro hac vice, but has been the driving and controlling force in this litigation, drafting
the complaint, sending communicat ions, and hosting the R26 conferences . Accordingly, any fault for the failure to
serve within the time frame presumably rests with Mr. Biss.
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WHEREFORE, because good cause has not been shown, and because no effort was made to

serve Mr. Carden within 90 days, we respectfully request:


   a. That the matter against Mr Carden be dismissed without prejudice; and/or

   b. That the court enter such other relief as deemed appropriate.



                                                            The defendant, pro se

                                                            ls/Michael Farley
                                                            Michael Farley
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                                                              ewport, RI 02840
                                                            mfarleyesq@yahoo.com
                                                            401-835-8775
                                        CERTIFICATION
The defendant certifies that it delivered a copy of the foregoing document via electronic mail to
opposing counsel on March 1, 2021 to the following addresses:
Ryan Ernst, Esq. rern st(a),oelegal.com
                                                              ls/Michael Farley
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